Order filed, September 02, 2016.




                                      In The

                     Fourteenth Court of Appeals
                                   ____________

                               NO. 14-16-00474-CV
                                 ____________

      TEXAS WINDSTORM INSURANCE ASSOCIATION, Appellant

                                         V.

       DICKINSON INDEPENDENT SCHOOL DISTRICT, Appellee


                    On Appeal from the 405th District Court
                           Galveston County, Texas
                      Trial Court Cause No. 12-CV-2012


                                     ORDER

      The reporter’s record in this case was due August 25, 2016. See Tex. R.
App. P. 35.1. The court has not received a request to extend time for filing the
record. The record has not been filed with the court. Because the reporter’s record
has not been filed timely, we issue the following order.

      We order Tamra Parks, the official court reporter, to file the record in this
appeal within 30 days of the date of this order.

                                  PER CURIAM
